                UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF WISCONSIN


CRAFTON MOORE,

                   Plaintiff,

          v.                                                Case No. 18-cv-539

STATE FARM FIRE AND
CASUALTY COMPANY,

                   Defendant.


                              SCHEDULING ORDER


      On May 14, 2018, the Court conducted a scheduling conference in accordance

with Fed. R. Civ. P. 16. Appearing on behalf of the plaintiff was Attorney Nathaniel

Cade Jr.; appearing on behalf of the defendant was Attorney Mark Malloy. The

parties are advised to review this Order carefully and to seek guidance promptly

from the Court if any provision herein causes confusion or uncertainty.

      NOW, THEREFORE, IT IS HEREBY ORDERED:

1.    The parties shall make their Fed. R. Civ. P. 26(a)(1) initial disclosures no later

      than May 28, 2018.

2.    The parties may join other parties and amend the pleadings no later than

      June 15, 2018.

3.    A telephonic status conference to discuss whether case shall be referred for

      mediation will be held on November 1, 2018 at 10:00 a.m. before Magistrate




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     Judge Jones . The parties shall call the Court’s conference line at

     877-848-7030 and use access code 3866147# to join the call.

4.   The plaintiff shall disclose all expert witnesses (including in-house experts), in

     accordance with Fed. R. Civ. P. 26(a)(2) and Civil L.R. 26(b) no later than

     January 15, 2019. Deposition of experts should be taken within 45 days of

     designation.

5.   The defendant shall disclose all expert witnesses (including in-house experts),

     in accordance with Fed. R. Civ. P. 26(a)(2) and Civil L.R. 26(b) no later than

     March 15, 2019. Deposition of experts should be taken within 45 days of

     designation.

6.   Any motion challenging the qualifications of a designated expert must be

     made within 90 calendar days after the deposition of that expert.

7.   All requests for discovery must be served by a date sufficiently early so that all

     discovery in this case can be completed no later than November 15, 2018.

     Depositions shall be conducted in a manner consistent with the Court’s

     Deposition Procedures (attached). If the parties are unable to resolve any

     discovery disputes through the meet-and-confer process required by Civil L.R.

     37, the parties must promptly bring such disputes to the Court’s attention

     through a pre-motion conference. The Court will either resolve the dispute

     during the conference or will request focused briefing to resolve the dispute

     quickly.



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8.   All dispositive motions, together with briefs, are to be filed in accordance with

     Civil L.R. 56 (E.D. Wis.) and not later than March 30, 2019. Unless

     permission is sought and received prior to filing, principal briefs in support of

     and in opposition to summary judgment shall not exceed 8,000 words, and

     reply briefs shall not exceed 4,000 words. Words shall be counted in the

     manner specified in Fed. R. App. P. 32(f). These word limitations replace the

     page limits specified by Civil L.R. 56(b)(8)(A). A week after the motion is fully

     briefed, the parties are directed to contact the Court to schedule a hearing.

9.   The provisions of Fed. R. Evid. 502(d) are in effect for this case and are to be

     construed liberally to effect its protections.

     Dated at Milwaukee, Wisconsin, this 15th day of May, 2018.

                                              BY THE COURT:


                                              s/ David E. Jones
                                              DAVID E. JONES
                                              United States Magistrate Judge




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